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                                CERTIFICATE OF SERVICE


               I, Ann C. Cordo, certify that I am not less than 18 years of age, and that service of

the foregoing Forty-Fourth Interim Application Of Huron Consulting Group As

Accounting And Restructuring Consultant To Debtors And Debtors-In-Possession, For

Allowance Of Interim Compensation And Interim Reimbursement Of All Actual And

Necessary Expenses Incurred For The Period September 1, 2012 Through September 30,

2012 was caused to be made on October 10, 2012, in the manner indicated upon the entities

identified below.


Date: October 10, 2012                               /s/ Ann C. Cordo
                                                     Ann C. Cordo (No. 4817)


VIA HAND DELIVERY                                 VIA FIRST CLASS MAIL

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